                                            Case 3:23-cv-00413-KAD Document 2 Filed 04/03/23 Page 1 of 1
 .IS ,14    ( Rev. 04/21)                                                              CIVIL COVER SHEET
 The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
 provided by local rules of court. This form, approved by the Judicial Conference of the United Slates in September 1974, is required for the use of the Clerk of Court for the
 purpose or initialing the civil docket sheet (.\'/:/: INSIJW< ."/'/()NS ON Nii.\"/ !'A en: 0/.- '/'IIIS UJI/M.)


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     (bi      County ofResidence off irst Listed Plai mi"                  Ne"'\..CJ\\ ~'l\
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                                                                                                                       County olResidence or First Listed                Defcmlm,;f 19> Y\                          0
                                         (l,XCN''/' IN US. l'IA/Nl'/FF CAS/:',\')                                                              (IN US l'IAIN'/'/1"/: ( 'ASl,S UN}.Y)                                                  _/
                                                                                                                       NOTE        IN LAND CONDEMNATION CASES, USE THE LOCATION                                        or
                                                                                                                                   THETRACTOFLANDINVOLVED.

     ( C)     Attorneys (J<'ir111   Name, Address. awl Telcphon« N11mhe1)                                               Attorneys (IfKnown)


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                                                                                                                                                                       .-iLFD-IJ'.:DC-C"f-HAVfFDFD
  II. BASIS OF JURISDICTION                                (Place a11 "X" i11 011e ltox Only)            Ill. CITIZENSHIP OF PRINCIPAL PARTIES (Place an ·-x-- i11011eHoxf,,,-,,1m111iff
                                                                                                                   {For Diversity Cases 011/v)                                                 and 011e lior.fi,r Oc{<'11dm1I)
           U.S. Government                             Federal Question                                                                       PTF           DEF                                                      PTF                 DEF
               Plaintiff                                 (( !..\'. Government Nol a Party)                    Citizen of'This Stale           ~I          01           Incorporated or Principal Place                     D      4     01
                                                                                                                                                                          of Business In This State

 02        U.S. Government
              Defendant
                                                       Diversity
                                                         (Indicate Cnizcnship ofPanics in Item Ill)
                                                                                                              Citizen of' Another State         02        0            Incorporated mill Principal Place
                                                                                                                                                                          of Business In Another Stale
                                                                                                                                                                                                                           0      5fa
                                                                                                              Citizen or Subject of a           03        0 3          Foreign Nation                                      06           06
                                                                                                                Foreign Country
  IV. NAT URE OF SUIT (l'lace mi                          "X" i11 One Box 011/J•)                                                                 Click here for: Nature of Suit Code Dcscri rtions.
               CONTRACT                                                        TORTS                            FORFEITURE/PENALTY                       Bt\.NKRUPT('V            OTHER STATUTES
   110
   120
   130
       Insurance
       Marine
       Miller Act
                                                 PERSONAL INJURY
                                                 310 Airplane
                                                 315 Airplane Product
                                                                                     PERSONAL IN,JURY
                                                                                 0 365 Personal Injury   -
                                                                                         Product Liabilitv
                                                                                                              ~ 625 Drug Related Seizure
                                                                                                                    of' Property 21 USC 881
                                                                                                                690 Other
                                                                                                                                                  B      422 Appeal 28 USC 158
                                                                                                                                                         423 Withdrawal
                                                                                                                                                             28 USC 157
                                                                                                                                                                                                                  375 False Claims Act
                                                                                                                                                                                                                  376 Qui Tam (31 USC
                                                                                                                                                                                                                        3729(a))
 t
 ~ 140 Negotiable Instrument                         Liability                   D   367 Health Care/ ·                                                    INTELLEC.'TUAL                                         400 State Reapportionment
 0 I 50Recovery of' Overpayment                  320 Assault, Libel &                   Pharmaceutical                                            1---'P'-'R"'-O
                                                                                                                                                               ;;;;Pa..E
                                                                                                                                                                       a;.R
                                                                                                                                                                          ;.;..;.
                                                                                                                                                                             T.;;.Y..;Raal:.;;G..;Ha.T.S'---i---l 4 I 0 Antitrust
       & Enforcement of Judgment                     Slander                           Personal Injury                                                 820 Copyrights                                             ,JJO Banks and Banking
[] 151 Medicare Act                              330 Federal Employers'                Product Liability                                                                                                          450 Commerce
[l 152 Recovery of Defaulted                         Liability                   0 368 Asbestos Personal                                               835 Patent - Abbreviated                                   460 Deportation
        Student Loans                            340 Marine                             Injury Product                                                          New Drug Application                              4 70 Racketeer In II uenccd and
        (Excludes Veterans)                      345 Marine Product                     Liability                                                      840 Trademark                                                    Corrupt Organizations
[] 153 Recovery of Overpayment                       Liability                    PERSONAL PROPERTY                                                                                                               -180 Consumer Credit
       of Veteran's Benefits                     350 Motor Vehicle               0 370 Other Fraud                                                                                                                      (15 USC 1681 or 1692J
[J 160 Stockholders' Suits                                                       0 371 Truth in Lending               Act                                                                                         485 Telephone Consumer
~ 90 Other Contract                                  Product Liability           0 380 Other Personal            720 Labor/Management             I-~==~====";"-....,,                                                  Protection Act
 0 195 Contract Product Liability                360 Other Personal                    Property Damage               Relations                                                                                    490 Cable/Sal TV
[] 1% Franchise                                                                  0 385 Property Damage           740 Railway Labor Act                                                                            850 Sccuriues/Couuuoditics/
                                                                                       Product Liability         751 Family and Medical                                                                        Exchange
                                                                                                                      Leave Ac1                                                                         890 Other Statutory Actions
 \--,,---'-======-'-----!--,-=====.;;..--.._.;========.;;..-l==l790 Other Labor Litigation                                                                                                              891 Agricultural Acts
      210 Land Condemnation                                                       791 Employee Retirement                                                                                               893 Environmental Matters
 0    27.0 Foreclosure                                                                Income Security Act                                         t--====:-:::====-F'I                                  89.5Freedom of' lntonuation


 §    230 Rent Lease & Ejectment
      240 Torts to Land
      245 Tori Product Liability
 [] 290 All Other Real Prop~rly
                                 442 Employment
                                 443 I lousing/
                                     Accommodations
                                 445 Amer. w/Disabilitics -
                                                            510 Motions to Vacate
                                                                Sentence
                                                            530 General
                                                                                                                                                         870 Taxes (U.S. Plaintiff
                                                                                                                                                             or Defendant)
                                                                                                                                                         871 IRS--Third Party
                                                                                                                                                              26 USC 7609
                                                                                                                                                                                                             Act
                                                                                                                                                                                                        896 Arbitration
                                                                                                                                                                                                        899 Administrative Procedure
                                                                                                                                                                                                            Act/Review or Appeal of
                                     Employment                                                                                                                                                             Agency Decision
                                 446 Amer. w/Disabilitics -                                                                                                                                             950 Constitutionality of
                                     Other                                                                                                                                                                  Stale Statutes


                                                                                        Conditions of
                                                                                        Confinement
 ~- 0 RIC IN               (l'lace 1111 "X" in One /io.r 011/y)
.)\I I Original
           Proceeding
                                 02     Removed from
                                        State Court
                                                                     OJ         Remanded from
                                                                                Appellate Court
                                                                                                         04   Reinstated or
                                                                                                              Reopened
                                                                                                                                  os Transferred from
                                                                                                                                     Another District
                                                                                                                                                                      0     6 Multidistrict
                                                                                                                                                                              Litigation -
                                                                                                                                                                                                               08        Mullidistrict
                                                                                                                                                                                                                         Litigation -
                                                                                                                                          (specify)                           Transfer                                   Direct File




 VII. REQUESTED IN                                       CHECK IF THIS IS A CLASS ACTION                                                                          Cl-JECK YES only if demanded in complaint:
      COMPLAINT:                                         UNDER RULE 23, F.RCv P                                                                                   .JllRY DEMAND:                               Yes         O No
  VII I. RELATED CASE(S)
         IF ANY                                        (.\'ee instructions):
                                                                                                _______________ DOCKET NUMBER                                                                                                                   _
                                                                                 JUDGE
  D/\TE.                                                                             SIGNATURE OF ATTORNEY OF RECORD


  FOR OFFICE USE ONLY

     RECEIPT#                            AMOUNT                                         /\PPL YING IFP                                  JUDGE                                     MAG.JUDGE
